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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR07-331-MJP
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   WILLIAM CLARENCE RENNER,             )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Possess Marijuana with Intent to Distribute

15 Date of Detention Hearing:     November 13, 2007

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.     Defendant has been charged with a drug offense the maximum penalty of which is

22 in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 dangerousness and flight risk, under 18 U.S.C. §3142(e).

02          2.      Defendant has several outstanding warrants. He has been on federal supervision

03 in this district in the past. He has a history of failing to appear. He was not interviewed by Pretrial

04 Services and his background information is not known or verified.

05          3.      Defendant does not contest detention.

06          4.      Taken as a whole, the record does not effectively rebut the presumption that no

07 condition or combination of conditions will reasonably assure the appearance of the defendant as

08 required and the safety of the community.

09 It is therefore ORDERED:

10          (1)     Defendant shall be detained pending trial and committed to the custody of the

11                  Attorney General for confinement in a correction facility separate, to the extent

12                  practicable, from persons awaiting or serving sentences or being held in custody

13                  pending appeal;

14          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

15                  counsel;

16          (3)     On order of a court of the United States or on request of an attorney for the

17                  Government, the person in charge of the corrections facility in which defendant is

18                  confined shall deliver the defendant to a United States Marshal for the purpose of

19                  an appearance in connection with a court proceeding; and

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22 / / /

     DETENTION ORDER                                                                              15.13
     18 U.S.C. § 3142(i)                                                                       Rev. 1/91
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01         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04         DATED this 13th day of November, 2007.



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06                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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